                Case 23-13627-LMI            Doc 125   Filed 08/18/23    Page 1 of 2




                           UNITED STATES BANKRUTPCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION

IN RE

JORGE DAMBAKLI                                                CASE NO.: 23-13627-LMI

                Debtor                   /                              CHAPTER 13

RESPONSE TO THE BANK OF NEW YORK MELLON MOTION FOR RELIEF FROM
 AUTOMATIC STAY AND PROSPECTIVE IN-REM RELIEF FROM AUTOMATIC
                 STAY FOR A PERIOD OF TWO YEARS

        COMES NOW, Debtor, Jorge Dambakli, and files this his Response To the Bank Of New

York Mellon Motion For Relief From Automatic Stay and Prospective In-Rem Relief from

Automatic Stay for a Period of Two Years[D.E. 120] and as cause therefore states as follows:

        1. On August 14, 2023, The Bank of New York Mellon filed their Motion for Relief

             from Automatic Stay and Prospective In-Rem Relief From Automatic Stay For A

             Period Of Two Years [D.E.120].

        2. The property being treated through the plan as an MMM and all documents have been

             provided to the Creditor.

        3.   We are attempting to obtain a date for mediation.

        4. The Motion for Relief from Stay should be denied without prejudice until the MMM

             is resolved. The undersigned called April Harriot, Esq. on August 14, 2023 and left a

             message and has received a returned call.

        WHEREFORE, the Creditor’s Motion for Relief from Automatic Stay and Prospective

In-Rem Relief from Automatic Stay for a Period of Two Years should be denied until there is a

resolution to the MMM.
             Case 23-13627-LMI   Doc 125   Filed 08/18/23    Page 2 of 2




Dated: August 18, 2023

                                           Law Office of Michael J. Brooks, P.A
                                           Attorney for the Debtor
                                           8660 West Flagler Street, Suite 100
                                           Miami, Florida 33144
                                           Telephone: (877)-623-6123
                                           Email: Pleadings@bankruptcynow.com


                                           By:                    /s/
                                           Michael J. Brooks, Esq
                                           Florida Bar No. 434442
